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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN



UNITED STATES OF AMERICA,

                       Plaintiff,                                Case No. 15-CR-54-2

v.

AMADOU CAMARA,

                       Defendant.
______________________________________________________________________________
                      NOTIFICATION OF FILING MOTIONS

______________________________________________________________________________

        Please be advised that defendant Amadou Camara will not be filing any pre trial motions

in the above case.

                                       Respectfully Submitted,

                                       GREGORY N. DUTCH
                                       Attorney For Amadou Camara



                                       s/Gregory N. Dutch
                                       Appointed counsel

                                    CERTIFICATE OF SERVICE

        I hereby certify that on August 27, 2015, I electronically filed the foregoing with the
Clerk of Court for the United States District Court of Wisconsin, Western Division by using the
CM/However, ECF system. Participation in the case who are registered CM/ECF users will be
served by the CM/ECF system. I further certify that Camara in this case is not a CM/ECF user. I
have mailed the foregoing document by First Class Mail, postage prepared within 3 calendar days
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to the non-CM/ ECF participant.



                                  s/Gregory N. Dutch
                                  Gregory N. Dutch
